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 7

 8                               UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA
10
     IN RE: SOCIAL MEDIA ADOLESCENT
11   ADDICTION/PERSONAL INJURY                        CASE NO. 4:22-MD-03047-YGR
     PRODUCTS LIABILITY LITIGATION                    MDL No. 3047
12

13   This Document Relates: ALL CASES
14

15        PETITION OF MICHAEL M. WEINKOWITZ TO APPEAR AT THE INITIAL
             CONFERENCE BY ZOOM BECAUSE OF A POSITIVE COVID TEST
16
            1.      My name is Michael Weinkowitz, Esquire. Pursuant to this Court’s Order Setting
17
     Initial Status Conference (Dkt. No. 2), I timely filed an Application to be a member of the
18

19   Plaintiff’s Steering Committee (“PSC”). (Dkt. No. 8).

20          2.      On November 7, 2002, I traveled from Philadelphia to San Francisco, looking
21   forward to meeting with my colleagues and appearing before the Court at the initial status
22
     conference in the above-referenced matter.
23
            3.      Because I was experiencing some mild symptoms, including a loss of taste after
24
     arriving in San Francisco, I took a Covid test on November 8, 2022, and unfortunately tested
25
     positive (despite being fully vaccinated and boosted).
26
27          4.      While I remain at a hotel in San Francisco, for the health and safety of the Court

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     and the participants at the hearing, I respectfully request leave to appear at the initial conference
 1
     by Zoom. I would be happy to address the Court about my PSC Application over Zoom, or at any
 2
     other time convenient for the Court.
 3

 4                                                          Respectfully submitted,
     Date: November 8, 2022
 5
                                                            /s/ Michael M. Weinkowitz
 6                                                          Michael M. Weinkowitz, Esquire
                                                            LEVIN SEDRAN & BERMAN LLP
 7                                                          510 Walnut Street, Ste. 500
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 9                                                          MWeinkowitz@lfsblaw.com

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                                BECAUSE OF A POSITIVE COVID TEST
       Case 4:22-md-03047-YGR Document 72 Filed 11/08/22 Page 3 of 3


                                      CERTIFICATE OF SERVICE
 1
              I, Michael M. Weinkowitz, hereby certify that on November 8, 2022, I electronically filed
 2
     a PETITION OF MICHAEL M. WEINKOWITZ TO APPEAR AT THE INITIAL
 3
     CONFERENCE BY ZOOM BECAUSE OF A POSITIVE COVID TEST, with the Clerk of
 4
     the United States District Court for the Northern District of California using the CM/ECF system,
 5

 6   which shall send electronic notification to all counsel of record.

 7                                                         Respectfully submitted,
     Date: November 8, 2022
 8
                                                           /s/ Michael M. Weinkowitz
 9                                                         Michael M. Weinkowitz, Esquire
                                                           LEVIN SEDRAN & BERMAN LLP
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     4856-1305-3727, v. 2
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